              IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF IOWA
                        WESTERN DIVISION

UNITED STATES OF AMERICA,
            Plaintiff,                       No. 06-CR-4054-DEO
vs.                                                  ORDER
ALBERTO MALDONADO-GUTIERREZ,
a/k/a Carlos Maldonado-Lima;
and JUAN NEGRETE SANTANA,
            Defendants.
                       ___________________

                 I.    BACKGROUND AND INFORMATION

      This matter is before the Court on the “Defendants’ Joint

Motion To Suppress Evidence Pursuant To Federal Rule of

Criminal Procedure 12(b)(c)” (Docket No. 16).                  The motion

requests suppression of the evidence seized at the roadside

traffic stop of the defendant’s car and subsequent detention

and custodial interrogation.           Counsel for the Government

filed,   “Government     Response   To   Joint     Defense     Motion        To

Suppress” (Docket No. 18).       A hearing on the motion was held

before United States Magistrate Judge Paul A. Zoss on August

18, 2006.    On that same day, U.S. Magistrate Zoss issued an

Order requesting further briefing by the parties.                On August

21, 2006, the Government filed, “Government Response Pursuant

to Court Order” (Docket No. 27); and on August 22, 2006, the



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defendants filed, “Defendants’ Response Pursuant To Court

Order” (Docket No. 30).        On August 22, 2006, United States

Magistrate Judge Paul A. Zoss issued an, “Amended Report And

Recommendation On Joint Motion To Suppress” (Docket No. 32).

    The Report and Recommendation contains background facts

of the case which have been disputed by the defendants (Docket

No. 34); more specifically,

          On Pages 5-6 of the Amended Report and
          Recommendation (hereinafter Amended R&R),
          the Court found:

                Trooper Halverson returned to the
                patrol car and ran a warrants
                check on Negrete.    He finished
                processing citations for the
                driver’s license and window tint
                violations, and he had Maldonado
                either sign the computer screen
                or Maldonado signed a piece of
                appear that was scanned into the
                computer.   The trooper did not
                print out the tickets because he
                still had to process the ticket
                for the speeding violation.

          Defendants object to this factual finding
          because it is clear from the transcript and
          testimony that Trooper Halverson had
          completed the citation process at that
          point. Defendant Maldonado did not receive
          a ticket for any speeding violation.

(Docket No. 34, “Objections To the Amended Report                        And
Recommendation On Defendants’ Motion To Suppress”).


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    The facts in the Report And Recommendation, with the

exception of the disputed facts set out above, will not be

repeated in this Order; however, they are referenced herein as

if fully set out.

    The Report and Recommendation concludes:

            Accordingly, for the reasons discussed
            above, IT IS RESPECTFULLY RECOMMENDED that
            the defendants’ joint motion to suppress
            evidence be denied in its entirety.
            Objections must be filed by August 29,
            2006.   Responses to objections, if any,
            must be filed by September 1, 2006.

    On August 28, 2006, the defendants filed, “Objections To

the Amended Report And Recommendation On Defendants’ Motion To

Suppress”    (Docket     No.    34);    and   on    August     29,     2006,    the

Government    filed,     “Government’s         Response        To    Defendants’

Objections    To   The   Magistrate’s         Report     And    Recommendation

Denying Defendants’ Motion To Suppress” (Docket No. 35).

                               II.     ANALYSIS

                         A.    Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

            A judge of the court shall make a de novo
            determination of those portions of the
            report or specified proposed findings or

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              recommendations to which objection is made.
              A judge of the court may accept, reject, or
              modify, in whole or in part, the findings
              or recommendations made by the magistrate
              [judge].

28 U.S.C. § 636(b)(1).             Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

              The district judge to whom the case is
              assigned shall make a de novo determination
              upon the record, or after additional
              evidence, of any portion of the magistrate
              judge’s disposition to which specific
              written   objection   has   been   made  in
              accordance with this rule.     The district
              judge may accept, reject, or modify the
              recommendation decision, receive further
              evidence, or recommit the matter to the
              magistrate judge with instructions.

FED. R. CIV. P. 72(b).

                            III.     DISCUSSION

    As        noted    above,      objections        to     the      Report     And

Recommendation were filed.               Therefore, this Court held a

prolonged hearing on the matter.                The Court recognizes that

counsel for both sides were well prepared and that the last 30

pages    in    the    transcript    of       that   hearing     reveal     a   very

pertinent discussion of the issues involved. Counsel for both


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parties gave the Court several pertinent legal citations which

left the Court undecided as to the appropriate findings to

make.    Government counsel informed the Court of a “new” case

which had not been mentioned in the briefs that was very

pertinent to the problem the Court faced.                     Can a police

officer detain an offending motorist after the officer has

completed the writing up of a citation and given it to the

motorist?

    After the hearing, the Court was given a copy of the

recent case of Illinois v. Caballes, 543 U.S. 405, 125 S. Ct.

834, 160 L. Ed. 2d 842 (2005), which was the case the

Government counsel had referred to. In that case, the Supreme

Court of the United States held that the officers had not

unnecessarily prolonged a traffic stop and that the dog alert

was sufficiently reliable to provide probable cause to conduct

a possible dog detection of drugs as long as it was a brief

delay.

            [T]he use of a well-trained narcotics-
            detection dog-one that “does not expose
            noncontraband items that otherwise would
            remain hidden from public view,” . . .
            during a lawful traffic stop, generally
            does not implicate legitimate privacy
            interests. In this case, the dog sniff was
            performed on the exterior of respondent’s

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           car while he was lawfully seized for a
           traffic violation.      Any intrusion on
           respondent’s privacy expectations does not
           rise to the level of a constitutionally
           cognizable infringement.

Caballes, 543 U.S. at 409.

    The case further states:

           A dog sniff conducted during a concededly
           lawful traffic stop that reveals no
           information other than the location of a
           substance that no individual has any right
           to possess does not violate the Fourth
           Amendment.

Caballes, 543 U.S. at 410.

    This Court, after careful reading of the Caballes

case, does not see how it could rule to the contrary under the

facts now before it in this case.

    This    Court   has   also   considered     the   cases     of   United

States of America v. Hanlon which states:

           When evaluating whether a reasonable
           suspicion exists for an officer to expand
           the scope of an investigation following a
           traffic stop, the court must look at the
           totality of the circumstances in light of
           the officer’s experience.

Hanlon, 401 F.3d 926, 929 (8th Cir. 2005)

    Additionally, in United States of Caballes, 543 U.S. 405,

125 S. Ct. 834, 837, 160 L. Ed. 2d 842 (2005), the Court held:


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             A dog sniff may be the product of an
             unconstitutional seizure, however, if the
             traffic stop is unreasonable prolonged
             before the dog is employed. . . . To
             establish   an   unreasonably    prolonged
             detention, a driver must show that he was
             detained beyond the time justified by the
             traffic stop, and that the detention was
             not supported by reasonable suspicion.

Id.

       In the case now before this Court, U.S. Magistrate Judge

Paul    A.   Zoss   appropriately      concluded    in    the   Report     and

Recommendation that Trooper Halverson’s suspicions were raised

by the match of the Blazer and its driver to the details of

the teletype alert, the obvious nervousness of the defendants,

the presence of numerous air fresheners in the vehicle and the

discrepancies and incompleteness of the defendants’ stories.

Further, in the totality of the circumstances, this Court

finds    Trooper    Halverson    was    justified    in    detaining       the

defendants while he investigated further.                In addition, the

canine crew was already at the scene before the traffic

citations were completed; so there is no violation of the

defendants’ Fourth Amendment rights in requiring them to

remain at the scene while the dog sniffed the vehicle’s

exterior.


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      This    Court   is   aware   that      the   defendants       further

strenuously argued that the fact that a dog had alerted his

handler to the presence of drugs did not allow the officers to

search inside the car even though the owner of the car had

agreed that the canine crew could make a sniff search around

the defendant’s car.

      The parties supplied the Court with the case of United

States v. Alexander, 448 F.3d 1014 (8th Cir. 2006) which holds

as follows:

             Because the dog sniff was legal, the
             resulting search of Alexander’s car was
             also legal, for the dog’s identification of
             drugs in Alexander’s car provided probable
             cause that drugs were present, which
             entitled the officers to search the vehicle
             forthwith pursuant to the automobile
             exception to the warrant requirement.
             United States v. Sanchez, 417 F.3d 971, 976
             (8th Cir. 2005).

Alexander, 448 F.3d at 1017.

      Alexander is not a case that clearly permits officers to

search an entire car just because the dog sniff was legal, but

it is the closest case this Court was provided with or aware

of.

      This Court is not prepared to rule that the permission to

allow the dog to make a pass around the defendant’s car and

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then have the dog “hit” on the front, right portion of the car

is not enough probable cause to allow for a subsequent search

of the whole car which resulted in the finding of drugs inside

the car.   This Court knows of no precedent which would allow

it to so rule, and the Court declines to do so.

    One final matter should be noted.             In its resistance to

the defendants’ joint motion, the Government also raises the

issue that Negrete lacks standing to challenge the search of

the Blazer.     Because the Court has found the search to be

valid in any event, the issue is moot and requires no further

discussion here.

                          IV.     CONCLUSION

    Based upon the testimony received by the Court and upon

complete   review   of   the    record    and    submitted      pleadings,

including a thorough review of the U.S. Magistrate’s Report

and Recommendation:

    IT IS HEREBY ORDERED that this Court accepts Judge Zoss’s

Amended Report And Recommendation (Docket No. 32).                        The

defendants’ joint motion to suppress all evidence seized at

the roadside traffic stop of the defendant’s car and the




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subsequent detention and custodial interrogation is hereby

denied.

     IT IS FURTHER HEREBY ORDERED that pursuant to the oral

motion to extend the pre-trial motion deadline made by the

defendant Maldonado-Gutierrez at the hearing of September 26,

2006, which was sustained, the parties shall file their trial-

related motions within three (3) days of the date of this

Order.

     IT IS SO ORDERED this 4th day of October, 2006.


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                                  Donald E. O’Brien, Senior Judge
                                  United States District Court
                                  Northern District of Iowa




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